                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 1 of 12 Page ID #:1



               1 LUCIA E. COYOCA (SBN 128314)
                   lec@msk.com
               2 KARIN G. PAGNANELLI (SBN 174763)
                   kgp@msk.com
               3 MITCHELL SILBERBERG & KNUPP LLP
                 2049 Century Park East, 18th Floor
               4 Los Angeles, CA 90067-3120
                 Telephone: (310) 312-2000
               5 Facsimile: (310) 312-3100
               6 Attorneys for Plaintiffs
                 Mar Vista Entertainment, LLC, The
               7 Ninth House LLC, and Ninth Dark LLC
               8                         UNITED STATES DISTRICT COURT
               9                        CENTRAL DISTRICT OF CALIFORNIA
               10
               11 MAR VISTA ENTERTAINMENT,                   CASE NO. 2:23-cv-06924
                  LLC, THE NINTH HOUSE LLC, and
               12 NINTH DARK LLC,                            COMPLAINT FOR
                                                             DECLARATORY RELIEF
               13               Plaintiffs,
                                                             Demand For Jury Trial
               14         v.
               15 THQ NORDIC AB,
               16               Defendant.
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP

                                                      COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 2 of 12 Page ID #:2



                1         Plaintiffs Mar Vista Entertainment LLC, The Ninth House LLC, and Ninth
                2 Dark LLC (collectively, “Plaintiffs”), by their attorneys Mitchell Silberberg &
                3 Knupp LLP, complain and allege against Defendant THQ Nordic AB
                4 (“Defendant”) as follows:
                5
                6                           PRELIMINARY STATEMENT
                7         1.    This is an action for declaratory relief, seeking a declaration that
                8 Plaintiffs’ use of the title Alone in the Dark for a single film does not infringe
                9 Defendant’s purported trademark rights for its video games ALONE IN THE
               10 DARK.
               11         2.    Plaintiffs are Los Angeles-based media and production companies. In
               12 October 2022, Plaintiffs’ film Alone in the Dark was released as a TUBI original.
               13 The film centers on Bri, a 40ish recent divorcée who is forced to live under house
               14 arrest following her ex-husband’s crimes, as she uncovers the truth about an
               15 elusive stalker.
               16         3.    The film Alone in the Dark is not at all similar to Defendant’s video
               17 games, gothic survival games that allows players, for example, to explore their
               18 environments, fight monsters, solve puzzles and uncover the secret of Derceto
               19 Manor – “a home for the mentally fatigued.”
               20         4.    Indeed, it is not likely that consumers would confuse the two products
               21 or believe that they are affiliated with or related to each other. Nevertheless,
               22 Defendant has claimed that the film titled Alone in the Dark infringes Defendant’s
               23 alleged trademark rights in ALONE IN THE DARK. Defendant specifically has
               24 threatened to seek an injunction preventing the continued distribution of the Alone
               25 in the Dark film, and seeks massive damages for the purported injury to
               26 Defendant’s alleged brand.
               27         5.    Defendant’s threats of litigation have created an actual and live
  Mitchell     28 controversy as to the parties’ respective rights to use “Alone in the Dark.” Because
Silberberg &
 Knupp LLP
                                                              2
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 3 of 12 Page ID #:3



                1 Alone in the Dark is the title of a single film, and not used to identify the source of
                2 the film or otherwise as a trademark, Plaintiffs’ use is protected by the First
                3 Amendment and is unlikely to cause consumer confusion. Plaintiffs are entitled to
                4 a declaration that they have not infringed, diluted, or otherwise violated
                5 Defendant’s alleged trademark rights.
                6
                7                            JURISDICTION AND VENUE
                8         6.     This is an action for declaratory relief, arising under the Lanham Act,
                9 15 U.S.C. § 1051 et seq. and the Declaratory Judgment Act, 18 U.S.C. § 2201.
               10         7.     This Court has subject matter jurisdiction over Plaintiffs’ claims for
               11 declaratory relief pursuant to 28 U.S.C. §§ 1331 and 1338, as the claims arise
               12 under and require interpretation of the trademark laws of the United States. This
               13 Court also has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332
               14 because the amount in controversy exceeds $75,000 and the parties are citizens of
               15 different states and/or countries.
               16         8.     This Court has personal jurisdiction over Defendant because it has
               17 purposefully directed its activities at the State of California and has purposefully
               18 availed itself of the benefits of doing business in California, including, on
               19 information and belief, by soliciting, doing business with, entering into contracts
               20 with, and communicating with individuals or entities in the State of California such
               21 as end-users and console makers, by distributing its games in California in brick
               22 and mortar stores, and by sending cease-and-desist letters regarding the Alone in
               23 the Dark film title at issue into California.
               24         9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
               25 because this is a judicial district in which Plaintiffs have their principle place of
               26 business, where a substantial part of the events giving rise to the claims occurred,
               27 and where the film was produced.
  Mitchell     28
Silberberg &
 Knupp LLP
                                                              3
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 4 of 12 Page ID #:4



                1                                    THE PARTIES
                2         10.   Mar Vista Entertainment, LLC is a Delaware limited liability
                3 company, with its principal place of business in Los Angeles, California.
                4         11.   The Ninth House LLC is a California limited liability company, with
                5 its principal place of business in Los Angeles, California.
                6         12.   Ninth Dark LLC was a California limited liability company, with its
                7 principal place of business in Los Angeles, California.
                8         13.   On information and belief, Defendant THQ Nordic AB is organized
                9 and existing under the laws of Sweden with its principal place of business located
               10 at Alvgatan 1, Sweden 652 25.
               11
               12                      FACTS APPLICABLE TO ALL CLAIMS
               13                        Plaintiffs and the Alone in the Dark Film
               14         14.   Plaintiffs produce and distribute media content.
               15         15.   The film Alone in the Dark was released in October 2022, exclusively
               16 on the streaming platform TUBI.
               17         16.   The film stars Novi Brown as “Bri” and Terrell Carter as “Xavier.”
               18 Alone in the Dark centers around a 40ish woman haunted by a recent scandal
               19 involving her ex-husband. Between her legal troubles and a messy divorce, Bri has
               20 had a difficult time, but hopes her life will get better once she serves her 365 days
               21 of house arrest. Bri gets bored and eventually suspects an intruder has been inside
               22 her house. Bri convinces Xavier, an ex-marine-turned-private-investigator, to
               23 protect her. Bonded by their need to uncover the truth about the intruder, Xavier
               24 and Bri develop feelings for one another as chaos ensues.
               25               Defendant and the ALONE IN THE DARK Video Games
               26         17.   On information and belief, Defendant developed and/or makes
               27 available to the public 3D survivor horror games entitled ALONE IN THE DARK.
  Mitchell     28 In most of the games, which typically are set in the 1920s, the player controls the
Silberberg &
 Knupp LLP
                                                             4
                                                        COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 5 of 12 Page ID #:5



                1 character Edward Carnby, who investigates a haunted house or town that is full of
                2 undead creatures and monsters. The player encounters strange residents,
                3 nightmarish realms, dangerous monsters, and ultimately uncovers a plot of rising
                4 evil.
                5         18.    On information and belief, Defendant and its predecessors released
                6 several related games including: ALONE IN THE DARK (1992), ALONE IN
                7 THE DARK 2 (1993), ALONE IN THE DARK 3 (1994), ALONE IN THE
                8 DARK: THE NEW NIGHTMARE (2001), ALONE IN THE DARK (2008), and
                9 ALONE IN THE DARK: ILLUMINATION (2015).
               10         19.    On information and belief, Defendant’s games are playable only on
               11 video game consoles or personal computers. Defendant’s games have been
               12 distributed exclusively via video game or electronics retail stores, “big box” stores
               13 such as Best Buy and Walmart, or online video game distribution platforms such as
               14 Steam or Xbox Live.
               15         20.    Consumers would not be likely to confuse the film Alone in the Dark
               16 with Defendant’s video games. As the title of a single film, the title is not being
               17 used as a source-identifier. Moreover, the film (about a divorced, 40ish woman)
               18 and the games (about fighting monsters and the undead) are completely different;
               19 are marketed very differently; appeal to very different consumers; are not sold in
               20 the same channels of trade; and use different design marks and logos.
               21                                   The Parties’ Dispute
               22         21.    On May 11, 2023, Defendant’s counsel sent a cease-and-desist letters
               23 claiming that the use of Alone in the Dark as the title of the film “is likely to
               24 confuse consumers” and “is diluting [Defendant’s] mark,” and entitles Defendant
               25 to actual, statutory, and treble damages. Defendant demanded that “[t]he Alone in
               26 the Dark film [] be removed from circulation and renamed,” and required a
               27 response within five days.
  Mitchell     28
Silberberg &
 Knupp LLP
                                                              5
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 6 of 12 Page ID #:6



                1         22.    On May 15, 2023, Plaintiffs’ counsel sent a response letter to
                2 Defendant, disputing Defendant’s claims, and explaining that the use of Alone in
                3 the Dark for the title of the film cannot give rise to the asserted trademark claims
                4 because, inter alia, the title is protected by the First Amendment. See Rogers v.
                5 Grimaldi, 875 F.2d 994 (2d Cir. 1989); Twentieth Century Fox Television v.
                6 Empire Distrib., 875 F.3d 1192 (9th Cir. 2017).
                7         23.    Plaintiffs’ counsel heard nothing further from Defendant for the next
                8 three months. Then, on August 11, 2023, Defendant’s counsel sent a draft
                9 complaint to Plaintiffs’ counsel, alleging that the use of the title Alone in the Dark
               10 constitutes trademark infringement, false designation of origin, unfair competition,
               11 and dilution under, inter alia, the Lanham Act, 15 U.S.C. §§ 1114, 1125(a), and
               12 1125(c). In the accompanying cover letter, Defendant’s counsel stated that
               13 Defendant “plans to commence suit” unless the dispute is resolved “in the
               14 immediate future.” Defendant did not specify a response deadline.
               15         24.    Based on the foregoing, a justiciable controversy exists between
               16 Plaintiffs and Defendant as to whether the use of Alone in the Dark as the title of a
               17 single film constitutes trademark infringement, false designation of origin, unfair
               18 competition, and/or trademark dilution under the Lanham Act, 15 U.S.C. §§ 1114,
               19 1125(a), and/or 1125(c), or any other applicable federal or state statutory or
               20 common law. It is within the power of this Court to resolve this controversy.
               21         25.    In view of Defendant’s threats and allegations, Plaintiffs need and are
               22 entitled to a judicial declaration to clarify the scope of each party’s legal rights and
               23 confirm that Plaintiffs have the right to use Alone in the Dark as the title of the
               24 film.
               25
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                              6
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 7 of 12 Page ID #:7



                1                                         COUNT I
                2    Declaratory Judgment of Non-Infringement, No False Designation of Origin,
                3                               and No Unfair Competition
                4         26.    Plaintiffs re-allege and incorporate by reference the allegations in
                5 Paragraphs 1 through 25, as if set forth fully herein.
                6         27.    As a result of the acts described herein, including Defendant’s cease-
                7 and-desist letters, email and draft complaint, there exists a controversy of sufficient
                8 immediacy and reality to warrant the issuance of a declaratory judgment that
                9 Plaintiffs have not engaged in and are not engaging in trademark infringement,
               10 false designation of origin, or unfair competition under the Lanham Act, 15 U.S.C.
               11 §§ 1114 and 1125(a), or any other applicable federal or state statutory or common
               12 law.
               13         28.    Defendant has claimed that the film Alone in the Dark is infringing
               14 upon Defendant’s alleged registered and/or common law trademark rights in the
               15 mark ALONE IN THE DARK, falsely designating the origin of the film, and
               16 unfairly competing with Defendant.
               17         29.    Plaintiffs categorically deny Defendant’s claims. Plaintiffs have not
               18 infringed or otherwise violated Defendant’s alleged trademark rights nor have they
               19 unfairly competed with Defendant in any way.
               20         30.    Plaintiffs assert that their use of Alone in the Dark as the title of the
               21 film is protected under the First Amendment, including because the title is
               22 artistically relevant to the content of the film and does not explicitly mislead as to
               23 the source or sponsorship of the film. The title of a single film is not a source-
               24 identifier or a trademark “use” as defined by the Lanham Act.
               25         31.    In addition, Plaintiffs assert that their use of Alone in the Dark has not
               26 caused, and is not likely to cause, confusion, mistake, or deception as to the origin
               27 of the film, and no reasonable consumer would mistakenly believe that Defendant
  Mitchell     28
Silberberg &
 Knupp LLP
                                                               7
                                                          COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 8 of 12 Page ID #:8



                1 sponsors, endorses, or is otherwise affiliated or associated with Plaintiffs or the
                2 film merely because Alone in the Dark is the title of a film.
                3         32.    By reason of the existence of an actual and justiciable controversy,
                4 Plaintiffs request and are entitled to a declaratory judgment that the title of the film
                5 Alone in the Dark does not violate the Lanham Act, 15 U.S.C. §§ 1114 and
                6 1125(a), or any other applicable federal or state statutory or common law.
                7         33.    The requested declaratory relief is equitable, necessary and proper
                8 under the circumstances presented by this case. A declaration of the parties’
                9 respective rights will settle the conflicting and disputed claims of the parties, will
               10 afford them the security of knowing precisely what their respective rights are, and
               11 will prevent a multiplicity of actions that will arise if the parties continue on their
               12 present course of action without a judgment from this Court.
               13
               14                                        COUNT II
               15                         Declaratory Judgment of No Dilution
               16         34.    Plaintiffs re-allege and incorporate by reference the allegations in
               17 Paragraphs 1 through 33, as if set forth fully herein.
               18         35.    As a result of the acts described, including Defendant’s cease-and-
               19 desist letters, email and draft complaint, there exists a controversy of sufficient
               20 immediacy and reality to warrant the issuance of a declaratory judgment that
               21 Defendant’s purported mark ALONE IN THE DARK is not “famous” and the use
               22 of Alone in the Dark as a title of a film does not dilute Defendant’s alleged
               23 registered and/or common law trademark rights in ALONE IN THE DARK under
               24 the Lanham Act, 15 U.S.C. § 1125(c), or any other applicable federal or state
               25 statutory or common law.
               26         36.    Defendant has claimed that using Alone in the Dark as the title of a
               27 film is diluting the alleged distinctive quality of Defendant’s purportedly “famous”
  Mitchell     28 mark ALONE IN THE DARK.
Silberberg &
 Knupp LLP
                                                              8
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 9 of 12 Page ID #:9



                1         37.    Plaintiffs categorically deny Defendant’s claims. Plaintiffs assert that
                2 Defendant’s purported mark ALONE IN THE DARK is not inherently distinctive,
                3 has not acquired secondary meaning, and is not “famous” and, moreover, that the
                4 use of Alone in the Dark as the tittle of film has not diluted and is not likely to
                5 dilute Defendant’s claimed trademark rights in any way.
                6         38.    In addition, Plaintiffs assert that their use of Alone in the Dark as the
                7 title of the film is protected under the First Amendment, including because the title
                8 is artistically relevant to the content of the film and does not explicitly mislead as
                9 to the source or sponsorship.
               10         39.    Plaintiffs further assert that their use of Alone in the Dark constitutes a
               11 “noncommercial use” within the meaning of the Lanham Act, 15 U.S.C. §
               12 1125(c)(3)(C). The title of a single film is not a source-identifier or a trademark
               13 “use” as defined by the Lanham Act.
               14         40.    By reason of the existence of an actual and justiciable controversy,
               15 Plaintiffs request and are entitled to a declaratory judgment that the use of Alone in
               16 the Dark does not violate the Lanham Act, 15 U.S.C. § 1125(c), or any other
               17 applicable federal or state statutory or common law.
               18         41.    The requested declaratory relief is equitable, necessary and proper
               19 under the circumstances presented by this case. A declaration of the parties’
               20 respective rights will settle the conflicting and disputed claims of the parties, will
               21 afford them the security of knowing precisely what their respective rights are, and
               22 will prevent a multiplicity of actions that will arise if the parties continue on their
               23 present course of action without a judgment from this Court.
               24
               25                                PRAYER FOR RELIEF
               26         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment
               27 in their favor and against Defendant:
  Mitchell     28
Silberberg &
 Knupp LLP
                                                               9
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 10 of 12 Page ID #:10



                1          1.    Declaring that Plaintiffs have not infringed and are not infringing,
                2 either directly or indirectly, any valid and enforceable trademark rights of
                3 Defendant under the Lanham Act, 15 U.S.C. §§ 1114 and/or 1125(a), or any other
                4 applicable federal or state statutory or common law;
                5          2.    Declaring that Plaintiffs have not engaged in and are not engaging in
                6 any false designation of origin or unfair competition in violation of the Lanham
                7 Act, 15 U.S.C. § 1125(a), or any other applicable federal or state statutory or
                8 common law;
                9          3.    Declaring that Plaintiffs have not diluted and are not diluting, directly
               10 or indirectly, any trademark rights of Defendant under the Lanham Act, 15 U.S.C.
               11 § 1125(c), or any other applicable federal or state statutory or common law;
               12          4.    Restraining and enjoining Defendant and its officers, directors, agents,
               13 counsel, servants, employees, and all of persons in active concert or participation
               14 with any of them from alleging, representing, or otherwise stating that the use of
               15 Alone in the Dark in connection with the film infringes or dilutes any rights of
               16 Defendant in Defendant’s purported mark ALONE IN THE DARK, or constitutes
               17 a false designation of origin or unfair competition or is otherwise unlawful;
               18          5.    Declaring Plaintiffs the prevailing party and this case as exceptional,
               19 and awarding Plaintiffs their reasonable attorneys’ fees, pursuant to 15 U.S.C. §
               20 1117(a);
               21          6.    Awarding Plaintiffs all fees, expenses, and costs associated with this
               22 action; and
               23          7.    Awarding Plaintiffs such other and further relief as this Court deems
               24 just and proper.
               25
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                             10
                                                         COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 11 of 12 Page ID #:11



               1 DATED: AUGUST 22, 2023                LUCIA E. COYOCA
                                                       KARIN G. PAGNANELLI
               2                                       MITCHELL SILBERBERG & KNUPP LLP
               3
               4                                       By: /s/ Karin G. Pagnanelli
                                                             Lucia E. Coyoca (SBN 128314)
               5                                             Karin G. Pagnanelli (SBN 174763)
                                                             Attorneys for Plaintiffs
               6                                             Mar Vista Entertainment, LLC, The
                                                             Ninth House LLC, and Ninth Dark LLC
               7
               8
               9
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                           11
                                                       COMPLAINT
                    Case 2:23-cv-06924 Document 1 Filed 08/22/23 Page 12 of 12 Page ID #:12



               1                                      JURY DEMAND
               2           Plaintiff demands a trial by jury on all issues so triable.
               3
                     DATED: AUGUST 22, 2023                LUCIA E. COYOCA
               4                                           KARIN G. PAGNANELLI
                                                           MITCHELL SILBERBERG & KNUPP LLP
               5
               6
               7                                           By: /s/ Karin G. Pagnanelli
                                                                 Lucia E. Coyoca (SBN 128314)
               8                                                 Karin G. Pagnanelli (SBN 174763)
                                                                 Attorneys for Plaintiffs
               9                                                 Mar Vista Entertainment, LLC, The
                                                                 Ninth House LLC, and Ninth Dark LLC
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                               12
                                                          COMPLAINT
